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2024-OSEC-00984-F

American Edwin Elfmann
Bankers .
Association Senior Vice President
Agriculture and
Building Success. Together. Rural Banking Policy

202-663-5018
eelfmann@aba.com

May 19, 2021

The Honorable Tom Vilsack
Secretary of Agriculture

U.S. Department of Agriculture
1400 Independence Avenue, SW
Washington, D.C. 20250

Dear Secretary Vilsack:

We are writing to reiterate our views on the USDA’s implementation of Section 1005 of the
American Rescue Plan Act related to Socially Disadvantaged Farmers and Ranchers (SDA). A
recent New York Times story unfairly suggested we oppose this effort to provide relief to SDA
borrowers. As our prior letter indicated, we do not oppose this assistance, but seek only to urge
USDA to implement this debt-relief program in a way that will not cause undue harm to lenders
who work every day with farmers and ranchers in their communities and provide them with
much-needed credit. These borrowers are our members’ customers, and like USDA, we want to
see them succeed and grow their business.

As USDA is aware, the vast majority of these lenders are smaller, community banks that were
planning on income from these loans as part of their comprehensive risk management and capital
planning. For some lenders, the sudden payoff of these loans as called for in the legislation could
have negative consequences depending on how USDA implements this program. Since the
lending community was not consulted during consideration of Section 1005, we are asking that
USDA consider the impact to lenders when implementing this debt-relief.

We reiterate our willingness to share our ideas for implementation with USDA officials at any
time. We believe it is possible to ensure that SDA borrowers get the timely relief they need
without harming the capital planning efforts of lenders that support this important USDA
program.

Sincerely,
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Edwin Elfmann

cc: | The Honorable Raphael Warnock
The Honorable Cory Booker

1120 Connecticut Avenue, NW I Washington, DC 20036 I 1-800-BANKERS I aba.com
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United States
Department of
Agriculture

Farm and Foreign
Agricultural
Services

Farm
Service
Agency

Kentucky State

FSA Office

771 Corporate Dr.
Ste. 100

Lexington, KY 40503

Phone: 859-224-7601
Fax: 859-224-7691

Website:
www. fsa.usda.gov/ky

FSA

USDA
a

May 18, 2010

Corey Lea
2307 New Cut Rd
Alverton, Ky 42122

Re: FOIA dated May 5, 2010
Dear Mr. Lea:

This responds to your Freedom of Information Act (FOIA) request dated
May 5, 2010 and assigned control number 21-000-2010-000018.
Please reference this control number in any future communication with
our office about your request.

In response to your request the following determinations have been
made:

1. Protective Advances. Protective advances must constitute a debt
of the borrower to the lender and be secured by the security
instrument. Agency written authorization is required for protective
advances in accordance with the terms and amounts specified by 7
C.F.R. Part 762. Terms and amounts for PLP lenders are included in the
lender's Credit Management System.

Determination: No responsive records

2. Additional Loan or Advances. In cases of a line of credit, the
lender may make an emergency advance when a line of credit has
reached its ceiling and additional funds are needed to prevent an
imminent loss of crops or livestock that would take place if the
emergency advance were not made. The lender must provide Agency
with an analysis as required by Agency regulations.

Determination: No responsive records

3. Future Recovery. After a loan has been liquidated and a final loss
claim has been paid by the Agency, any future funds which may be
recovered from the borrower by the lender, will be pro-rated between
the Agency and the lender.

Determination: No responsive records

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United States Department of Agriculture

Office of the Secretary
Washington, D.C. 20250

July 20, 2021

Mr. Edwin Elfmann

Senior Vice President

Agriculture and Rural Banking Policy
American Bankers Association

1120 Connecticut Avenue, NW.
Washington, D.C. 20036

Dear Mr. Elfmann:

Thank you for your letter of May 19, 2021, concerning implementation of Section 1005 of the American
Rescue Plan Act of 2021 (Public Law 117-2) (ARPA). We value the longstanding relationship between
the U.S. Department of Agriculture (USDA) and the American Bankers Association and look forward to
maintaining that relationship.

Several lenders and lending associations have contacted USDA about how the guaranteed Farm Loan
provisions of ARPA will be implemented and its impact on borrowers, lenders, and secondary market
investors. This input will be considered as decisions are made.

As we develop the Notice of Funding Availability for the guaranteed farm loans later this summer,
USDA will continue to listen and consider all feedback, such as whether to include the indebtedness,
pre-payment penalties, interest accrual, and other fees and charges.

USDA is providing the public with updates about ARPA at www.farmers.gov/AmericanRescuePlan,
including a frequently asked questions page and other background information that may be helpful.

Again, thank you for your letter.

Sincerely,

Thomas J IN ilsagk
Secretary

An Equal Opportunity Employer

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